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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                       March 13, 2022
                                                                     Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

        GENESIS MARINE            § CIVIL ACTION NO.
        LLC,                      § 4:17-cv-00719
                 Plaintiff,       §
                                  §
                                  §
              vs.                 § JUDGE CHARLES ESKRIDGE
                                  §
                                  §
        SGR ENERGY INC,           §
             Defendant.           §

                      MINUTE ENTRY AND ORDER

           Minute entry for proceedings before Judge Charles
       Eskridge on March 9, 2022. STATUS CONFERENCE. All
       parties present by videoconference and represented by
       counsel.
           The Court disclosed professional connection through
       American Inns of Court to Brendon Singh, counsel to
       Defendant SGR Energy Inc.
           The Court addressed the motion by Genesis Marine
       LLC for writ of execution. Dkt 20; see also Dkts 21 (show
       cause order), 22 (response to the same) & 23 (proposed
       writ). The motion was GRANTED for reasons stated on the
       record. A separate order will enter in that regard.
           The Court addressed the motion by Genesis Marine to
       compel the corporate deposition of SGR Energy. Dkt 24.
       The deposition must occur prior to the refiling of
       bankruptcy proceedings by SGR Energy, being anticipated
       at present as March 21st. The parties were instructed to
       promptly prepare and jointly submit a proposed order
       concerning an agreed date in that regard. Genesis Marine
       may seek emergency relief three days in advance of March
       21st, if necessary.
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          SO ORDERED.

          Signed on March 9, 2022, at Houston, Texas.


                               __________________________
                               Hon. Charles Eskridge
                               United States District Judge




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